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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------X
UNITED STATES OF AMERICA                         :

                 -v-                            :                 NOTICE OF MOTION
                                                                  20 Cr. 314 (GHW)
ETHAN MELZER,                                   :

                           Defendant.            :
-------------------------------------------------X

        PLEASE TAKE NOTICE, that based on the accompanying memorandum of law and
the declaration attached thereto, the defendant herein, Ethan Melzer, will move this Court,
before the Honorable Gregory H. Woods, United States District Judge for the Southern District
of New York, at a time to be set by the Court, for an Order dismissing the indictment as it was
obtained in violation of the Fifth and Sixth Amendments to the United States Constitution and in
violation of the Jury Selection and Service Act.

DATED:           New York, New York
                 November16, 2020

                                                           Respectfully submitted,
                                                           DAVID E. PATTON, ESQ.
                                                           Federal Defenders of New York

                                                     By:   _/s Jennifer Willis________
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                                                           Jennifer Willis, Esq
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